           Case 2:14-cr-00321-GMN-NJK        Document 249       Filed 01/10/17    Page 1 of 1



 1
 2
 3
 4
 5
 6
                                    UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,                          )
10                                                      )
                            Plaintiff,                  )      Case No. 2:14-cr-00321-GMN-NJK
11                                                      )
     vs.                                                )      ORDER
12                                                      )
     KEVIN HALL, et al.,                                )      (Docket No. 245)
13                                                      )
                            Defendants.                 )
14                                                      )
15            Pending before the Court is Defendant Keith Williams’ motion for joinder to Defendant Kevin
16   Hall’s motion to reopen pretrial motions deadline. Docket No. 245.
17            The Court hereby GRANTS Defendant’s motion for joinder. Docket No. 245.
18            IT IS SO ORDERED.
19            DATED: January 10, 2017.
20
21                                               ______________________________________
                                                 NANCY J. KOPPE
22                                               United States Magistrate Judge
23
24
25
26
27
28
